                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :           No. 1:21-CR-00026
                                           :
      v.                                   :           (Judge Conner)
                                           :
ROHAN LYTTLE,                              :           Electronically filed
                                Defendant. :


  MOTION TO ISSUE SUMMONS AND REVIEW DETENTION STATUS

      AND NOW, the United States of America, by its undersigned counsel,

submits the following Motion to Issue Summons and Review Detention Status. In

support of this motion, the United States alleges as follows:

      1.     On or about February 17, 2021, defendant, Rohan Lyttle. was charged

in a three count Indictment with conspiracy to commit wire and mail fraud in

violation of 18 U.S.C. §1349 (Count 1); mail fraud in violation of 18 U.S.C. §1341

(Count 5) and, wire fraud in violation of 18 U.S.C. §1343 (Count 6).

      2.     On March 31, 2021, Lyttle appeared before U.S. Magistrate Judge

Martin C. Carlson for an initial appearance on the Indictment, at which time he was

released on bail and placed on pretrial supervision.

      3.     The United States Probation Office has found that Lyttle violated

conditions of pretrial supervision, as outlined in the attached report dated

May 5, 2022. The report notes violations of Lyttle’s curfew, standard condition #7.

Since that report was provided, Lyttle also violated his curfew and other release
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conditions on May 3 (returned home at 12:06 AM), May 5 (drove by the home of

his co-defendant, Caron Pitter), and May 12 (returned home at 10:04 PM).

      4.     In light of the circumstances, the government asks this court to issue a

summons for Lyttle to appear before the court to answer for his violations of the

terms of pretrial supervision and to review his bail status.

      WHEREFORE, for the foregoing reasons, the United States requests that this

Honorable Court issue a summons for the defendant to appear and answer for the

defendant’s violations of the terms of pretrial supervision and review his bail status.

No brief is submitted in support of this motion, as the reasons for the government=s

request are fully set forth herein. For the convenience of the Court, a proposed form

of order is attached.

                                        Respectfully submitted,

                                        JOHN C. GURGANUS
                                        UNITED STATES ATTORNEY

Date: May 20, 2022                      /s/ Ravi R. Sharma
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                          CERTIFICATE OF SERVICE

      Pursuant to Standing Order 05-6 and Local Rules 4.2 and 5.7, I hereby certify

that the foregoing document was served through electronic case filing.


                                      Respectfully submitted,

                                      JOHN C. GURGANUS
                                      UNITED STATES ATTORNEY

Dated: May 20, 2022                    /s/ Ravi R. Sharma
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